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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,

                                     Plaintiff,
                                                         Crim. No. 11-141 (RHK/JJK)
                                                         ORDER
v.

Frank Elroy Vennes, Jr. (1),
James Nathan Fry (4),

                                    Defendants.


       This matter recently came before the Court for an informal scheduling conference.

At that conference, the parties agreed that a continuance of the trial date was appropriate in

order to afford Defendants sufficient time to prepare for trial, and Defendants agreed to

exclude the additional delay period from Speedy Trial Act computations. The Court finds

that a continuance is appropriate and that the ends of justice served by granting a

continuance outweigh the best interest of the public and the parties in a speedy trial. 18

U.S.C. § 3161(h)(7)(a).

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

ORDERED that the Scheduling Order (Doc. No. 77) is AMENDED as follows:

       1.     JURY SELECTION will commence in this action on Thursday, September

27, 2012, at 9:00 a.m., in Courtroom 7A, Warren E. Burger Federal Building and United

States Courthouse, 316 North Robert Street, St. Paul, Minnesota;
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        2.    A JURY TRIAL will commence on Monday, October 1, 2012, and continue

from day to day until concluded;

        3.    A STATUS CONFERENCE before the undersigned will be held on Friday,

September 28, 2012, at 8:30 a.m. or, if jury selection has not concluded by that time, will

be held at some later time (as-yet-undetermined) on September 28. Among other things,

the Court intends to address the parties’ Motions in Limine (see below) at the status

conference;

        4.    Expert disclosures and reports shall be exchanged on or before August 1,

2012;

        5.    Rebuttal expert disclosures and reports shall be exchanged on or before

September 4, 2012;

        6.    Exhibit and witness lists shall be exchanged and filed on or before August 1,

2012;

        7.    Witness statements (including memoranda of interviews, Jencks statements,

and Giglio materials) shall be exchanged on or before September 4, 2012;

        8.    Proposed voir dire questions and proposed jury instructions shall be served

and filed on or before September 4, 2012;

        9.    Motions in Limine shall be served and filed on or before September 14,

2012;

        10.   Responses to Motions in Limine shall be served and filed on or before

September 21, 2012; and
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      11.    The period from March 5, 2012, through October 1, 2012, shall be excluded

from the Speedy Trial Act computations in this case.

Dated: March 5, 2012                                    s/Richard H. Kyle
                                                        RICHARD H. KYLE
                                                        United States District Judge




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